                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 CLIFFORD TUTTLE, et. al.

 Consolidated with

 JOHN NICHOLAS, et.al.

                Plaintiffs,

 v.

 CITY OF HOUSTON; ART ACEVEDO,                 Case No. 4:21-cv-00270
 et. al.
                                              (JURY DEMANDED)
                Defendants.




  PLAINTIFFS’ MOTION FOR VOLUNATARY DISMISSAL OF DEFENDANT ART
                 ACEVEDO IN HIS OFFICIAL CAPACITY

       COMES NOW, Plaintiffs, and file this Motion for Voluntary Dismissal of Defendant Art

Acevedo in his official capacity as the chief of police of the Houston Police Department, and would

respectfully show the Court as follows:

       Defendant moved to dismiss Acevedo in his official capacity as the chief of police of the

Houston Police Department. Plaintiffs are unopposed to this motion and hereby voluntarily

dismisses Acevedo only in his official capacity as the chief of police of the Houston Police

Department. Plaintiffs maintain their claims against the City of Houston. Because Plaintiffs’

claims against Acevedo, in his official capacity as the chief of police, are redundant of the claims

against the City of Houston, Plaintiffs request that Acevedo is dismissed from this lawsuit in his

official capacity as the chief of police. In addition, Defendant Art Acevedo, In His Official

Capacity As The Chief Of Police Of The Houston Police Department’s Motion For Judgment On
The Pleadings is moot.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request to have their

claims against Art Acevedo, in his official capacity as the chief of police, dismissed without

prejudice.


                                           Respectfully submitted,

                                           DOYLE DENNIS LLP



                                           ____________________________________
                                           MICHAEL PATRICK DOYLE (#06095650)
                                           PATRICK M. DENNIS (#24045777)
                                           JEFFREY I. AVERY (#24085185)
                                           The Clocktower Building
                                           3401 Allen Parkway, Suite 100
                                           Houston, Texas 77019
                                           Phone: (713) 571-1146
                                           Fax: (713) 571-1148
                                           Email: service@doylelawfirm.com

                                           CHARLES C. BOURQUE, JR.
                                           Louisiana State Bar No. 20118
                                           Admitted Pro Hac Vice
                                           ST. MARTIN & BOURQUE, LLC
                                           315 Barrow St.
                                           Houma, LA 70360
                                           985-876-3891 (phone)
                                           985-851-2219 (fax)
                                           cbourque@stmblaw.com

                                           ATTORNEYS FOR PLAINTIFFS
                                           Patricia Nicholas, as temporary administrator of
                                           the Estate of Rhogena Nicholas and Jo Ann
                                           Nicholas, individually and as an heir of the Estate
                                           of Rhogena Nicholas
                                 CERTIFICATE OF SERVICE

        I, the undersigned attorney, do hereby certify that a true and correct copy of the foregoing
document was forwarded to the following counsel of record on this the 4th day of October, 2023,
via CM/ECF, hand delivery, electronic mail, overnight courier, U.S. Mail, certified mail, return
receipt request, and/or facsimile, pursuant to the Federal Rules of Civil Procedure.



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                                                     MICHAEL PATRICK DOYLE
